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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

SINDY BLISS,

Plaintiff, Case No.:

V.

WALMART STORES EAST, LP

Defendant.

 

NOTICE OF REMOVAL

Defendant, Walmart Stores East, LP, files this Notice of Removal and
hereby removes this action from the Circuit Court of Okaloosa County,
Florida, to the United States District Court for the Northern District of
Florida, Pensacola Division, for the following reasons:

1. The removing party, Walmart Stores East, LP (hereinafter
"Walmart"), is the defendant in the above-styled action.

2. On July 25, 2020, Plaintiff, Sindy Bliss, filed the above-styled
action, Case No: 2020CA002241 against Walmart Stores East, LP, which
is now pending in the Circuit Court of Okaloosa County, Florida. On July
28, 2020, a Summons was issued for Walmart. On August 20, 2020,

Walmart filed its Notice of Appearance and Designation of Email Address.

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114 E, GREGORY STREET, 2"° FLOOR, PENSACOLA, FLORIDA 32502 e TEL: (850) 434-6490
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On August 22, 2020, Plaintiff filed a Return of Service indicating that
Walmart had been served. On August 25, 2020, Plaintiff filed her
Designation of Email Service Address. On August 28, 2020, Walmart
served its Notice of Service of Initial Interrogatories, Medicare/Medicaid
Reporting Interrogatories, Request for Admissions and Request to Produce
Documents on Plaintiff, and filed its Responses to Plaintiff's Request for
Admissions. On September 2, 2020, Plaintiff served her Answers to
Defendant's Request for Admission. On September 15, 2020, Walmart
filed its Answer and Affirmative Defenses to Complaint. On September 23,
2020, Plaintiff filed her Denial of Affirmative Defenses of Defendant, and
served Walmart with her Notice of Service of Initial Interrogatories, Request
to Produce Documents and Requests for Admissions. On September 24,
2020, Walmart served Plaintiff with its Answers to Plaintiff's First Request
for Admissions and Response to Plaintiff's Request for Inspection. On
September 25, 2020, Walmart filed its Notice of Videotaped Deposition
Duces Tecum of Sindy Bliss and Notice of Videotaped Deposition Duces
Tecum of Shane Bliss, and Subpoena Duces Tecum with Video Deposition.
On October 7, 2020, Plaintiff served Walmart with her Notice of Service of
Answers to Interrogatories and Answers to Request to Produce

Documents. On October 8, 2020, Plaintiff filed her Supplemental

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Response to Walmart’s Request to Produce. On October 23, 2020,
Walmart served Plaintiff with its Notice of Service of Unverified Answers to
Interrogatories and Answers to Request to Produce Documents.

3. No further proceedings have been had in State Court.

4. Walmart removes this action to federal court under diversity
jurisdiction, 28 U.S.C. Section 1332.

5. According to Walmart’s records, and upon information and
belief, Plaintiff is a resident and citizen of the State of Florida.

6. At all times material, Defendant Walmart Stores East, L.P. was
and is a limited partnership organized pursuant to the laws of the State of
Delaware and mairitaining its principal place of business in the State of
Arkansas. WSE Management, LLC is the general partner and WSE
Investment, LLC is the limited partner of Walmart Stores East, L.P. Both
partners are organized pursuant to the laws of the State of Delaware and
maintain their principal place of business in the State of Arkansas. Wal-
Mart Stores East, LLC f/k/a Wal-Mart Stores East, Inc. is a Delaware
corporation with a principal place of business in Arkansas, and is the sole
member of WSE Management, LLC and WSE Investment, LLC. Wal-Mart
Stores East, LLC is a wholly-owned subsidiary of Walmart, Inc., a Delaware

corporation maintaining its principal place of business in Arkansas.

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7. Plaintiff's Complaint alleges only that she seeks damages in
excess of $30,000, the minimum jurisdictional amount required to be pled
in state circuit court. Aside from the minimal jurisdictional amount, Plaintiff
makes no specific claims regarding her damages in the Complaint. Plaintiff
has made no demand.

8. Until only recently, Plaintiff did not provide Walmart with
sufficient information or documentation regarding the value of her damages
that would support the federal court amount in controversy threshold.

9. On October, 2020, Plaintiff served her Answers to
Interrogatories, and for the first time Plaintiff provided information that, as a
result of the incident in question, Plaintiff suffered serious injuries. Exhibit
“A”. On October 22, 2020, at her deposition, Plaintiff provided testimony
further elaborating on her injuries and damages. Plaintiff contends that she
suffered injuries to her right shoulder and right knee which required
surgery. She claims that she suffered a permanent injury to her right wrist,
right ankle, and right elbow, as well as an injury to her right hip which
aggravated her pre-existing low back injury. Plaintiff's medical expenses to
date are $39,312.10, and Plaintiff contends that she will require future

medical care. Until receipt of discovery, and Plaintiffs deposition, Plaintiff

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did not disclose that she suffered severe injuries or that she had undergone
surgery, as a result of the subject accident.

10. Plaintiff's claimed damages exceed the $75,000.00 minimum
jurisdictional amount for federal court.

11. Walmart has filed this Notice of Removal within thirty (30) days
of being served with an “other paper’ that supports the federal court
amount in controversy.

12. The United States District Court has jurisdiction over the parties
in this litigation and venue in the Pensacola Division is appropriate.

13. Pursuant to Rule 7.2 (A), the rules of the United States District
Court for the Northern District of Florida, a true copy of the complete record
filed in Circuit Court of Santa Rosa County shall be filed with this Court
within ten (10) days of the filing of the Notice of Removal.

14. Walmart will give written notice of this removal to Plaintiff, as
required by law.

15. A copy of this notice will be filed with the Clerk of Circuit Court
of Okaloosa County, Florida, as provided by law.

WHEREFORE the removing party, Defendants Walmart Stores East,
LP, prays that the above-entitled action be removed from the Circuit Court

of Okaloosa County, Florida, to this Court.

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Case 3:20-cv-05913-MCR-EMT Document1 Filed 10/29/20 Page 6 of 12

CERTIFICATE OF SERVICE
| hereby certify that on the oq’ day of October, 2020, | electronically filed the

foregoing document with the Clerk of the Court using CM/ECF.

(a Vi

J. Andrew Talbert

Florida Bar No.: 0106003

Tricia H. Payne

Florida Bar No.: 059196

Quintairos, Prieto, Wood & Boyer, P.A.
114 East Gregory Street, 2™ Floor
Pensacola, FL 32502

Telephone: (850) 434-6490
Facsimile: (850) 434-6491

E-Mail: atalbert@qowblaw.com
tricia. payne@aqpwblaw.com

Attorneys for Defendant

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IN THE CIRCUIT COURT, FIRST JUDICIAL CIRCUIT,
IN AND FOR OKALOOSA COUNTY, FLORIDA

SINDY BLISS,
Plaintiff,

Vv. CASE NO. 2020-CA-002241

WALMART STORES EAST, LP,

Defendant.

NOTICE OF SERVICE OF ANSWERS TO INTERROGATORIES
PLEASE TAKE NOTICE that the Interrogatories served upon Plaintiff, SINDY BLISS,
by the Defendant, WALMART STORES EAST, LP, were answered and returned on October
7" 2020.
| HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
via electronic email service on this Hay of October 2020, to J. Andrew Talbert, Esquire,
Tricia H. Payne, Esquire, Quintairos, Prieto, Wood & Boyer, 114 East Gregory Street, 2"4 Floor,

Pensacola, FL 32502, Atalbert.pleadings@gpwblaw.com, Tstafford.pleadings@gqpwblaw.com,

 

Dshally@qpwblaw.com, Jennifer, biskner@aqpwblaw.com,

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Jonathan I. Rotstein, Esquite—
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(386) 252-5560 / (386) 238-6999 fax (Imb)
Primary: L.Bonner@rotstein-shiffman.com
Secondary: M.Otto@rotstein-shiffman.com
T.Dallarosa@rotstein-shiffman.com
Attorney for Plaintiff

EXHIBIT

te

 

 
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PLAINTIFF’S ANSWERS TO INTERROGATORIES

SINDY BLISS,
Plaintiff,

v. CASE NO, 2020-CA-002241

WALMART STORES EAST, LP,

 

Defendant
1, _ Bliss
2. I have been a disabled veteran from 2005 to present.

SSD from 2010 to present
Dunkin Doughnuts, 2 weeks around June 2019, could not continue due to pain.

Waffle House, minimum wage from July 2019 to October 2019, part-time, again could
not continue due to pain.

3. I have been known as Sindy Gardiner, which was my maiden name, and Sindy Bliss. I
am married to Shane Bliss. | have lived at the following addresses:

 

4, I wear glasses for reading only. They were prescribed through the VA Hospital in
Pensacola, Fl. My last exam was April 2018.

5. Lhave never been convicted of a crime.
6. I have dealt with back pain since 2005.

a. Yes, when I landed on my right side from the fall. My chronic pain in my lower
back increased.

b. Yes Prior to this fall I was treated at the Buffalo NY VA Hospital, Olean NY VA
Clinic, Elgin VA Clinic. I am not sure of the dates. They will only give me

information for a year prior.

 
10.

11.

12.

13.

14.

15.

 

 

Alcoholic beverages: No
Drugs: No
Medications: No

I was coming out of an aisle and proceeded to meet with my family when all of a sudden
my feet came out from under me. My first reaction was to protect my neck, since I had
neck surgery in August 2018. At that point my body had turned to the side of my right
and landed hard. I was so embarrassed, has so much pain on mt right shoulder, right
elbow, right hip, right knee and right ankle, After J stood up a lady (who Wal-Mart took
a statement from) saw everything and stayed with me until the Wal-Mart employee came
and saw the spot where | fell she ran up and wiped up a liquid that resembled oil.
Another worker took a statement and I was trying to explain all of my pains and she
rushed through. I was given ice cubes in a napkin or paper towel. She (the worker) said
she was done and I, at that point, | went with my husband to the ER. Everything

happened so quickly.

Before I fell, I felt safe in Wal-Mart. There were no wet floor signs anywhere around. I
was no in a tush or being careless. I believe Wal-Mart was negligent and should be held

accountable for making it unsafe.

Right shoulder — had surgery that left a scar. The shoulder is still weak and tender.
Right knee — had surgery on the ACL I wear a brace every day and surgery left a scar.
Right ankle — constant joint pain

Right wrist - constant joint pain

Right elbow - constant joint pain

My medical providers are as follows:

North Okaloosa Medical Center $10,919.63
White Sands Chiropractic Clinic $ 2,767.00

Innovative Open MRI $ 5,400.00
Select Physical Therapy $ 640.00
Peter Szymoniak, MD $ 1,832.00
Santa Rosa Medical Center $39,312.10

[have no lost income.

My medicals are paid through the VA and Champus.
I have no assignments, loans or advanced payments.
My medical providers are as follows:

Dr. Moudar Alshazley

North Okaloosa Medical Center
151 East Redstone Ave.

 
16,

 

Crestview, Fl 32539

VA Hospital in Pensacola
790 Veterans Way
Pensacola, FL 32507

Elgin VA Hospital

Dr, Ana Lurinda

1000 Veterans Way

Elgin AFB, Fl

5/30/19, 7/26/19, 11/26/19

Eric R. Peraiani, DC

White Sands Chiropractic Clinic
24 Beal Parkway

Fort Walton Beach, Fl 32548
9/27/19 to 11/26/149

Innovative Open MRI
890 South Palafox Street
Pensacola, Fl 32502
11/1/19

Chelsea Spurgeon, PT

Select Physical Therapy

184 East Redstone Ave., Unit A
Crestview, Fl 32539

8/29/19; 9/3/19; 9/4/19; 9/13/19

Santa Rosa Medical center
6002 Berryhill Rd.

Milton, Fl 32570

1/828/20; 7/2/20

Peter Szymoniak, MD

6007 Berryhill Rd.

Milton, Fl 32570

1/8/20; 3/4/20; 6/17/20; 7/15/20

Prior medical providers:

Buffalo VA Hospital
3498-3496, US62

Buffalo, NY 14215
routine appointments, women’s health, occasional illness, and mental health

 
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18,

19,

20.

2],

22.

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Olean VA Clinic !
465 N. Union Street
Olean, NY 14760

routine appointments, women’s health, occasional illness, and mental health

Sacred Veart Hospital

Dr. Ann Carr, Neurosurgeon
5151 N, 9" Avenue
Pensacola, I'l 32504

Neck Surgery

Shane Bliss, My Husband

He has seen how this val my life

There was a female shopper who gave a statement to Wal-Mart. I did not get her name.

 
  

There are none known to me, other than the Wal-Mart video.

I have not been involved in another accident.

[ have not previously requested compensation for injury.

 
 

    

22,

and addre

This Oe but is not limited’to, perssnal injury compensation sdught as a
result of accidents or Inteantional/actions as well as visors by workers’

sft

     
     
 

 

| Suntyhloreens

Sindy Bliss
STATE OF FLORIDA
COUNTY OF OIL (DOL

The foregoing instrument was acknowledged before me _ this |. day of
Y yor , 2020 by — J ‘SS, who affirmed that he provided the
answers to the foregoing Interrogatories and that sald answers are true and correct to the

best of his knowledge or belief. He Is personally known to me or has produced
Ne as identification and did/did not take an oath,

rao WWE ef {(A#A_D
Notary Publ |
Printed Name: eC) L. Nor psy

[SEAL]
Commission Number; & 933
My Commission Expires: “4 ea Ox )-

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QUINTAIROS, PRIETO, WOOD & BOYER, P.A,, ATTORNEYS AT LAW
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